                 IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

ROBERT TERRACINO and                    )
BRADIE TERRACINO,                       )
                                        )
      Plaintiffs,                       )
                                        )
      v.                                )          Civil Action No.: 4:22-cv-3
                                        )
TRIMACO, INC., f/k/a 2300 Gateway, Inc. )
      and                               )
2300 GATEWAY, LLC.,                     )
      and                               )          JURY TRIAL DEMANDED
CHARLES COBAUGH,                        )
      and                               )
DAVID C. MAY,                           )
                                        )
      Defendants.                       )

                                        COMPLAINT

       Plaintiffs Robert and Bradie Terracino (“Plaintiffs” or “Terracinos”), through their

undersigned counsel, and for their Complaint against defendants Trimaco, Inc. f/k/a 2300

Gateway, Inc. (“Trimaco”), 2300 Gateway, LLC (“2300 Gateway” or “Gateway”), Charles

Cobaugh (“Cobaugh”), and David C. May (“May,” and each of Trimaco, 2300 Gateway, and

Cobaugh a “Defendant,” and collectively the “Defendants”), allege as follows:

                                NATURE OF THE ACTION

       1.      This is a civil action for violations of the federal Defend Trade Secrets Act (18

U.S.C. § 1831 et seq.), patent infringement under 35 U.S.C. §271, violations of North Carolina’s

Unfair and Deceptive Trade Practices Act, breach of contract, fraud in the inducement, and civil

conspiracy.

       2.      Plaintiffs’ claims arise out of actions wherein Defendants engaged in a scheme to

steal the business and intellectual property from a small growing company. Specifically, the




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Defendants fraudulently induced the Terracinos to enter an unconscionable patent license

agreement (the “Agreement”), while knowingly paying far below market royalty rates solely to

gain their trust and to learn their intellectual property.

        3.      Defendants also copied the Terracinos’s patented invention, filed a separate U.S.

patent application claiming the Terracinos’s invention, and terminated the license with the

Terracinos once Trimaco received a separate U.S. Patent for a manufacturing method also invented

by the Terracinos.

        4.      Defendants further wronged the Terracinos by filing for patent protection for the

Terracinos’s invention without their knowledge and without naming the Terracinos as inventors.

        5.      By and through the manufacture and sales of, at least, Trimaco’s “Stay Put” canvas

drop cloths, Trimaco has breached the Agreement with the Terracinos and is infringing upon the

Terracinos’ patent.

        6.      The Terracinos are seeking injunctive and monetary relief.

                                              PARTIES

        7.      Plaintiff Robert Terracino is an individual who is currently a resident of Virginia

Beach, Virginia.

        8.      Plaintiff Bradie Terracino is an individual who is currently a resident of Virginia

Beach, Virginia.

        9.      Defendant Trimaco Inc. (“Trimaco”), formerly known as 2300 Gateway, Inc., is an

Ohio Corporation with its Principal Office located at 2300 Gateway Centre Blvd., Suite 200,

Morrisville, North Carolina, 27560. In addition to its Principle Office, Trimaco has offices located

in St. Louis, Missouri and Surprise, Arizona. Trimaco also owns and operates manufacturing

plants in Surprise, Arizona; Manning, South Carolina; Ridgefield, Washington; and Elk Grove



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Village, Illinois. Trimaco has additional affiliated entities that may also be liable and will be added

if necessary.

        10.      Defendant 2300 Gateway, LLC (“Gateway”) is an affiliate of Trimaco, owns the

property utilized by Trimaco as its corporate headquarters, and shares the same Principle Office

as Trimaco. Gateway owns the facility in North Carolina in which Trimaco has been making,

using, and/or selling its infringing products.

        11.      Gateway is also the registered owner of certain intellectual property that Trimaco

utilizes to market and infringe upon the Terracinos’s intellectual property and patent rights.

        12.      Defendant Charles Cobaugh is an individual, and the owner of Trimaco, Inc. as

well as other related entities. Cobaugh in his individual capacity has availed himself of the

jurisdiction of this Court as, among other things, some or all of the actions taken by him to

fraudulently induce the Terracinos to enter into the License Agreement were made in this

jurisdiction.

        13.      Defendant David C. May is an individual residing in North Carolina, a co-owner

and the Vice President and Southeast Regional Sales Manager of Trimaco. He is also a managing

member of Gateway. May is also a named inventor on the patent application filed by Trimaco

claiming the Terracinos’s invention.

                                 JURISDICTION AND VENUE

        14.      The Court has jurisdiction to hear this matter as the claims herein arise from

Trimaco transacting business in and infringing Terracinos’ patent in this jurisdiction. This Court

also has personal jurisdiction over Trimaco as Trimaco’s corporate headquarters and Principle

Office are located in Wake County at 2300 Gateway Centre Blvd., Suite 200, Morrisville, North

Carolina 27560. Trimaco is also a foreign corporation registered with the North Carolina Secretary



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of State to do business in this jurisdiction, and has therefore availed itself to the laws and

protections of the State of North Carolina. Accordingly, this Court has jurisdiction over Trimaco,

and venue in this District is proper under 28 U.S.C. § 1400(b).

       15.      Jurisdiction and venue are also proper as to 2300 Gateway, LLC as it is a North

Carolina limited liability company with its primary business address in Wake County at 2300

Gateway Centre Blvd., Suite 200, Morrisville, North Carolina 27560.

       16.      Jurisdiction and venue are also proper in this jurisdiction as to Trimaco and the

individual defendants Cobaugh and May as the misrepresentations inducing the Terracinos to enter

into the Agreement at issue were made in the Trimaco corporate headquarters in this District. The

trade secrets were also misappropriated by Trimaco in North Carolina, were communicated to the

same corporate officers located at the Trimaco corporate headquarters, and the trade secrets were

appropriated by Trimaco in this District for a patent application that matured into an issued patent

(albeit naming the wrong inventors).

       17.      By and through those same actions taking place in the Eastern District of North

Carolina, Defendants breached the Agreement and enacted the civil conspiracy. This Court has

pendant jurisdiction over the North Carolina claims for violations of the North Carolina Trade

Secrets Protection Act (N.C. Gen. Stat. § 66-152 et seq.), the North Carolina Unfair and Deceptive

Trade Practices Act (N.C. Gen. Stat. § 75-1.1 et seq.), and the North Carolina common law claim

for civil conspiracy.

                                  FACTUAL BACKGROUND

               The Terracinos’s Patent and Formation of the License Agreement

       18.      Plaintiffs Robert and Bradie Terracino (the “Terracinos”) are a couple living in

Virginia Beach, Virginia. Robert Terracino retired from a painting business.



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        19.      As a result of their experience with painting and painting related technology, the

Terracinos developed a layered drop cloth that in addition to providing protection for floors and

other surfaces also provides a bottom surface creating high friction allowing the drop cloth to

protect a floor or other surface without slipping and without harming the surface on which the

drop cloth is utilized.

        20.      The Terracinos filed a patent application directed to this first invention, and were

ultimately issued U.S. Patent No. 9,044,917 (“the ‘917 patent”) on June 2, 2015 directed to their

“Non-Skid Protective Cloth or Pad.” The ‘917 Patent is valid and enforceable. A true and

correct copy of the ‘917 patent is attached as Exhibit 1.

        21.      Seeking to monetize their invention, the Terracinos began confidential discussions

with Cobaugh, the owner of Trimaco, regarding their patented invention and the possibility of

Trimaco manufacturing and selling their invention.

        22.      After speaking with Cobaugh on June 18, 2015, the Terracinos sent images,

video, and a sample of the invention to Cobaugh demonstrating their patented drop cloth (the

“Drop cloth”).

        23.      At least one element of the invention, the non-skid bottom layer, was a new

concept to Cobaugh and he admitted to the Terracinos that he had no idea where he would obtain

the material.

        24.      The Terracinos, with the understanding that doing so would be confidential and

subject to the formation and execution of the Agreement being negotiated, provided Cobaugh

with the information needed to obtain the material to create the non-skid bottom layer.

        25.      Cobaugh indicated to the Terracinos that he would manufacture numerous sizes of

the Drop Cloth on the Terracinos’s behalf, and that he would market it globally.



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       26.      From June through October, 2015, the Terracinos continued conversations with

Cobaugh related to their invention for the purpose of, among other things, licensing their

invention to Trimaco.

       27.      Cobaugh enticed the Terracinos to enter into the Agreement by telling them, in an

October 26, 2015 email, that “I think we could sell at least $1 million dollars by the end of 1½ -

2 years and then double that in 4-5 years.” In that same email, Cobaugh advised that they would

have their attorney draft the Agreement and did, in fact, provide the Agreement to the

Terracinos.

       28.      Cobaugh also represented to the Terracinos that the royalties would include sales

outside of the United States.

       29.      Cobaugh proposed a 5-year license to the Terracinos with a 2% royalty rate.

       30.      A 2% royalty rate was far below what the industry norms would provide for and

less than the royalty rates that he told the Terracinos Trimaco typically paid (3-5%). Cobaugh

represented that the lower rate was justified because the Trimaco product would technically not

infringe the Terracinos’s patent, and therefore no royalty payment was actually required at all.

Cobaugh made this representation knowing it was false.

       31.      Cobaugh also advised the Terracinos that their royalty rate would be a percentage

of Trimaco’s net sales, which he defined as “[g]ross sales less all customer givebacks and

prepaid freight i.e. what we net out of the sale.”

       32.      Despite Cobaugh’s assertions of what the “net sales” were, the Agreement itself,

however, states that net sales are “[Trimaco’s] gross sales less outbound freight, sales

commissions, and other customer givebacks such as COOP, rebates, and other allowances and,

further, less any bona fide returns (net of all returns actually made or allowed as supported by



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credit memoranda actually issued to the customers) up to the amount of the actual sales of

Royalty-Bearing Products during the Royalty Period.” Because the Terracinos’s royalty is based

upon “net sales,” Cobaugh’s misrepresentations as to net sales were directed at a material term of

the Agreement.

       33.      Upon receiving the Agreement from Trimaco, the Terracinos reminded Cobaugh

that the proposed royalty rate was lower than what he had indicated as typical royalty rates paid

by Trimaco. Cobaugh responded by offering two options: first, the 2% royalty on net sales for 5

years; or two, a $10,000.00 up front fee plus the 2% royalty over 5 years but Trimaco would own

the Terracinos’s Patent.

       34.      Despite that, Cobaugh followed up on October 29, 2015, claiming that “your

patent doesn’t apply to us since it has to do with sewing the backing on to the cloth (which we

are not doing). Therefore, we do not want the patent so option 2 is not a good offer. In good

faith, however, we will still agree to honor the 2% royalty for 5 years, and I hope we sell millions

of $’s of these so that your royalty will be a big number.” That was a false statement of material

fact as the Stay Put drop cloth manufactured, imported, and sold by Trimaco within the United

States and worldwide does, in fact, infringe the Terracinos’s patent.

       35.      The Terracinos do not own a large business and are unsophisticated when it

comes to patent license agreements; they did not understand that the proposed royalty rate was

significantly lower than market rates for similar technologies and that they were entitled to more.

They relied on the false material representations from one or more Defendants.

       36.      Market rates for similar technologies are two to four times the royalty rate offered

to the Terracinos.




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       37.       By enticing the Terracinos with the threat of Trimaco manufacturing and selling

Drop Cloths that as a matter of material fact infringe upon the Terracinos’s ‘917 patent but

convincing them otherwise, Trimaco and Cobaugh fraudulently induced the Terracinos into

entering into the Agreement. That statement by Cobaugh was a false statement of a present

material fact.

       38.       A true and correct copy of the Agreement as ratified by the Terracinos is attached

as Exhibit 2.

       39.       Although the Agreement provides that the Terracinos are entitled to a royalty

based upon net sales of the invention, the Agreement provides them with no ability to

meaningfully audit or monitor the royalty payments.

       40.       Section 4.A. of the Agreement provides, in part, that “[i]n no event shall [the

Terracinos] have the right to examine information with respect to [Trimaco’s] costs, pricing

formulas, or percentages of markup.”

       41.       Section 4.A. is unconscionable as it leaves the Terracinos with no way to

determine, even upon inspection of what information § 4.A. of the Agreement provides, what the

royalty paid to them was based upon.

       42.       Cobaugh told the Terracinos in October of 2015 that their royalty would be 2% of

Trimaco’s “net” which he defined as follows: “[g]ross sales less all customer givebacks and

prepaid freight ie what we net out of the sale. If we sell something for $1 and we pay the freight

carrier 8 cents and the customer deducts 12 cents for coop and rebates and warehouse

allowances, then we net 80 cents out of that sale transaction.”

       43.       The Terracinos relied upon that representation when entering into the Agreement.




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       44.      Despite that reassurance, the Agreement provided that “sales commissions” would

also be deducted from the gross sales.

       45.      Trimaco further provided in the Agreement that Trimaco had the unilateral power

to terminate the Agreement at any time. Agreement, § 6.C.

       46.      The Terracinos ratified the Agreement on February 10, 2016.

       47.      On June 25, 2018, the Agreement was assigned to 2300 Gateway, Inc. See

Assignment and Assumption Agreement attached as Exhibit 3.

       48.      Trimaco gave notice on February 10, 2021 of its intent to terminate the

Agreement. See termination letter attached as Exhibit 4.

       49.      Until the termination letter was sent, the Terracinos were entirely dependent upon

the licensing royalties for income.

          Defendants Misappropriated the Terracinos’s Intellectual Property and
Filed for US and Foreign Patent Protection of the Terracinos’s Invention Without Naming
                                     the Terracinos

       50.      During discussions leading up to the formation of the Agreement, the Terracinos,

understanding that doing so was part of and subject to the formation of the Agreement and done

so confidentially as part of that process, provided Cobaugh with proprietary information related

to the design, structure, and manufacture of the Drop Cloths.

       51.      Cobaugh promised that, as part of their agreement, he and Trimaco would prepare

and file a patent application naming the Terracinos as co-inventors that would include the

Terracinos’s follow-on invention of providing a middle, impervious layer to the Drop Cloth.

       52.      Unbeknownst to the Terracinos, however, Cobaugh and Trimaco had been

working behind the scenes to file a patent application capturing, in whole or in part, the inventive

material provided by the Terracinos to Trimaco, Cobaugh, and David May (“May”). That patent

application, U.S. Provisional Pat. App. No. 62/249,806 for “Slip-Resistant Protective Mat” was

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filed on November 2, 2015 (“the ‘806 application”), just four days after Cobaugh told the

Terracinos that the Stay Put drop cloths did not infringe the ‘917 Patent, and the ‘806 application

did not name the Terracinos as inventors or co-inventors.

       53.     The ‘806 application and the subsequent applications and patents enumerated

below all list David May (“May”) as the first named inventor.

       54.     Despite having already filed the ‘806 application claiming the elements of what

was actually the Terracinos’s invention, in a conversation on November 3, 2015 between the

Terracinos and Cobaugh, Cobaugh again discussed filing a patent application naming the

Terracinos that included what had already been filed in the ‘806 application but withheld the

material fact that Trimaco had already filed the ‘806 application.

       55.     Trimaco subsequently filed Patent Cooperation Treaty (PCT) Application No.

PCT/US2016/060109 (the “PCT Application”) on November 2, 2016, claiming the benefit of the

‘806 application but again failing to name the Terracinos as inventors or co-inventors and

without providing notice to the Terracinos. The PCT Application was subsequently nationalized

in the United States as U.S. Pat. App. No. 15/770,913, filed on April 25, 2018 (“the ’913”

Application”). A true and correct copy of the file wrapper for the PCT application is attached

herein as Exhibit 5.

       56.     The ‘913 Application subsequently issued as U.S. Pat. No. 10,683,607 on June

16, 2020, a true and correct copy of which is attached as Exhibit 6.

       57.     Trimaco also extended the PCT Application into Great Britain (App. No.

GB2557836, currently pending) and China (App. No. CN108698359, currently pending);

       58.     The claims as filed in the PCT Application and the ‘913 Application included the

elements described and claimed in the Terracinos’s ‘917 Patent and the ‘913 Application and the



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issued ‘607 patent specifically state in the specification that “in some embodiments, the first

layer, the second layer, and the third layer are connected through a first process and a second

process that is different from the first process. In some embodiments, the first process is

lamination and the second process is stitching.”

       59.     In addition, the claims as filed with the ‘806 provisional application include the

use of stitching in fastening the layers of the Terracino Drop Cloth despite Cobaugh’s claim that

Trimaco’s product (embodied in the application) did not infringe because it did not include

stitching. See Exhibit 5, p. 36 claim 11. The infringing drop cloth has been and continues to be

manufactured and sold with stitching.

       60.     Trimaco, rather than properly marking the Drop Cloth with the Terracinos’s

patent, marked the Drop Cloth packaging with “Patent Pending,” referencing the pending

application(s) filed by Trimaco.

       61.     To this day, the Stay-Put drop cloth as manufactured, imported, and sold by

Trimaco infringes each and every element of at least one claim of the ‘917 Patent. See Opinion

Regarding Infringement of U.S. Patent No. 9,044,917 B1, attached as Exhibit 7. Trimaco

continues to manufacture, cause to be manufactured, import, export, and sell the infringing Stay

Put drop cloths not only in the United States but globally as well.

       62.     Trimaco makes and sells the Stay Put drop cloths in two versions; the Stay Put

Canvas with a canvas layer and a surface grip layer, and the Stay Put Canvas Plus drop cloth

further incorporating a liquid barrier layer in between the canvas layer and the surface grip layer.

       63.     Trimaco’s infringing Stay Put products are ubiquitous and are sold, in part, by

Amazon.com, Home Depot, Lowe’s, Blain’s Farm and Fleet, MyTarp.com, Harbor Freight




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Tools, Mutual Screw & Supply, W.W. Grainger, Inc. (Grainger Industrial Supply), Ace

Hardware, and Sherwin-Williams, among others.

       64.      The Trimaco Stay Put drop cloths include each and every element of Claim 1 of

the Terracinos’s ‘917 Patent, specifically:

                a.      A non-skid protective cloth or pad;

                b.      a single, absorbent, plain woven upper layer free from any projecting cut

             pile and having an upper and a lower major surface;

                c.      a single lower, resilient layer having an upper and a lower major surface,

             said upper major surface of said single lower resilient layer being disposed adjacent

             said lower layer of said single, absorbent, woven upper layer, said lower resilient

             layer comprising a network of downward projecting bumps interconnected one to

             another by a resilient grid, said downward projecting bumps comprising bumps

             having at least two different circumferential sizes, said downward projecting bumps

             each having a height, said height of bumps having the smaller of said at least two

             different circumferential sizes being

                d.      greater than said height of bumps having said larger of said at least two

             circumferential sizes; and

                e.      stitching disposed through both said single, absorbent, upper, woven layer

             and said single lower resilient layer; whereby when said lower major surface of said

             single lower resilient layer is placed on a support surface, a Sliding Coefficient of

             Friction measured in accordance with TAPPI T548 specification is greater than

             approximately 0.75.




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                                             COUNT I

                          FRAUD IN THE INDUCEMENT AGAINST
                           CHARLES COBAUGH, INDIVIDUALLY

       65.     Plaintiffs hereby reallege and incorporate by reference the allegations of preceding

paragraphs as if fully set forth herein.

       66.     Cobaugh, individually, induced the Terracinos to enter into the Agreement by

misstating or concealing material facts as detailed above, including among other things

withholding the material fact that Trimaco intended to and had filed a patent application (the ‘806

application and its progeny) claiming the Terracinos’s invention. These statements and omissions

were intended to and did in fact deceive the Terracinos into entering the Agreement and into

disclosing their inventions and trade secrets.

       67.     Cobaugh intended the Terracinos to rely on his false representations and omissions.

       68.     Plaintiffs relied on the false representations and intentional omissions made by

Cobaugh.

       69.     As a direct and proximate cause of the false representations and intentional

omissions made to them by Cobaugh, and their reliance on same, the Terracinos have been

damaged in an amount to be proven at trial.

       70.     The Terracinos have no adequate remedy at law for the Cobaugh’s foregoing

wrongful conduct.

                                    COUNT II
                   FRAUD IN THE INDUCEMENT AGAINST TRIMACO

       71.     The Terracinos hereby reallege and incorporate by reference the allegations of

preceding paragraphs as if fully set forth herein.




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       72.     Trimaco, by and through Cobaugh, induced the Terracinos to enter into the

Agreement by misstating or concealing material facts as detailed above, including among other

things withholding the material fact that Trimaco intended to and had filed a patent application

(the ‘806 application and its progeny) claiming the Terracinos’s invention. These statements and

omissions were intended to and did in fact deceive the Terracinos into entering the Agreement and

into disclosing their inventions and trades secrets.

       73.     Trimaco intended the Terracinos to rely on its false representations and omissions.

       74.     Plaintiffs relied on the false representations and intentional omissions made by

Trimaco.

       75.     As a direct and proximate cause of the false representations and intentional

omissions made to them by Trimaco, and the Terracinos’s reliance on the same, the Terracinos

have been damaged in an amount to be proven at trial.

       76.     The Terracinos have no adequate remedy at law for the Defendants’ foregoing

wrongful conduct.

                                 COUNT III
             IN THE ALTERNATIVE BREACH OF LICENSE AGREEMENT

       77.     The Terracinos hereby reallege and incorporate by reference the allegations of

preceding paragraphs as if fully set forth herein.

       78.     The Terracinos and Defendants entered into the Patent License Agreement attached

as Exhibit 2 in 2016.

       79.     The Patent License Agreement is valid and legally binding.

       80.     Trimaco assigned its obligations under the Patent License Agreement to 2300

Gateway (see Ex. 3) on June 25, 2018.




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       81.     Trimaco and/or 2300 Gateway breached the Agreement by, among other things,

failing to make the complete royalty payments to the Terracinos as required by the Agreement,

misusing the Terracinos’s trade secret and other proprietary information to file Trimaco’s own

patent application directed to the same, and failing to give notice to the Terracinos regarding

Trimaco’s patent applications directed to the Terracinos’s invention.

       82.     As a direct result of Defendants’ breach, the Terracinos have been damaged in an

amount to be proven at trial.

                                 COUNT IV
 VIOLATIONS OF THE FEDERAL DEFEND TRADE SECRETS ACT, 18 U.S.C. § 1831
               et seq., AGAINST DAVID MAY, INDIVIDUALLY

       83.     The Terracinos hereby reallege and incorporate by reference the allegations of

preceding paragraphs as if fully set forth herein.

       84.     The Terracinos had knowledge and information as detailed above that was

unknown to others, including May and Trimaco, that derived independent economic value, actual

or potential, from not being generally known to, and not being readily ascertainable through proper

means by, others who would exploit that disclosure for economic gain.

       85.     At all relevant times, the Terracinos took reasonable steps to maintain the secrecy

of such information.

       86.     Understanding that May and Trimaco had a duty to maintain the secrecy of such

information and not exploit such information for their own gain, the Terracinos disclosed the

information to May and Trimaco.

       87.     May misappropriated the Terracinos’ trade secret, and the trade secret is related to

a product – the Drop Cloth – used in interstate commerce. The misappropriation was the direct

and proximate cause of harm to the Terracinos.



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       88.     The Terracinos have been damaged in an amount to be proven at trial.

                                COUNT V
 VIOLATIONS OF THE FEDERAL DEFEND TRADE SECRETS ACT, 18 U.S.C. § 1831
                      et seq., AGAINST TRIMACO

       89.     Plaintiffs hereby reallege and incorporate by reference the allegations of the

preceding paragraphs as if fully set forth herein.

       90.     The Terracinos had knowledge and information as detailed above that was

unknown to others, including May and Trimaco, that derived independent economic value, actual

or potential, from not being generally known to, and not being readily ascertainable through proper

means by, others who would exploit that disclosure for economic gain.

       91.     At all relevant times, the Terracinos took reasonable steps to maintain the secrecy

of such information.

       92.     Understanding that May and Trimaco had a duty to maintain the secrecy of such

information and not exploit such information for their own gain, the Terracinos disclosed the

information to May and Trimaco.

       93.     Trimaco misappropriated the Terracinos’ trade secret, and the trade secret is related

to a product – the Drop Cloth – used in interstate commerce. The misappropriation was the direct

and proximate cause of harm to the Terracinos.

       94.     The Terracinos have been damaged in an amount to be proven at trial.

                               COUNT VI
   UNFAIR AND DECEPTIVE TRADE PRACTICES IN VIOLATION OF N.C. GEN.
                   STAT. § 75-1.1 AGAINST TRIMACO

       95.     Plaintiffs hereby reallege and incorporate by reference the allegations of the

preceding paragraphs as if fully set forth herein.




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       96.      At all relevant times, Trimaco is and was engaged in commerce in North Carolina

as defined by chapter 75 of the North Carolina General Statutes.

       97.      The wrongful conduct of Trimaco in commerce in at least North Carolina, as

alleged above and including at least its fraudulent inducement of the License Agreement and

intentional failure to properly mark its Drop Cloths with the Terracinos’s patent information,

affects the Terracinos rights in North Carolina and constitutes unfair and deceptive acts and

practices.

       98.      Trimaco’s actions and false statements were deceptive and designed to intentionally

and unfairly compete with the Terracinos. Such wrongful acts which have injured and will continue

to injure the Terracinos have resulted in, and will continue to result in damages to the Terracinos

in North Carolina and beyond.

       99.      As a direct and proximate result of this unfair and deceptive conduct, the Terracinos

have been damages and are entitled to a judgment against Trimaco for actual damages, and those

damages are to be trebled pursuant to N.C. Gen. Stat. § 75-16.

       100.     The Terracinos are also entitled to an award of attorneys’ fees pursuant to N.C.

Gen. Stat. § 75-16.1.

                              COUNT VII
    IN THE ALTERNATIVE, DECLARATORY JUDGMENT THAT THE PATENT
 LICENSE AGREEMENT IS INVALID FOR UNCONSCIONABILITY IN VIOLATION
                     OF N.C. GEN. STAT. § 25-2-302.

       101.     Plaintiffs hereby reallege and incorporate by reference the allegations of the

preceding paragraphs as if fully set forth herein.

       102.     Defendants have been exercising and continue to exercise purported rights

afforded to them from the Patent License Agreement that is unconscionable and unenforceable.




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       103.    By and through the actions and inactions of both Trimaco and Cobaugh, the

Terracinos are the victims of unfair bargaining in negotiating that caused them to enter into the

License Agreement.

       104.    By and through the actions and inactions of both Trimaco and Cobaugh, the

Terracinos are subject to have unfair substantive terms contained within the License Agreement.

       105.    Trimaco exerted undue influence on the Terracinos and leveraged its unequal

bargaining power to induce the Terracinos to accept the unconscionable terms of the License

Agreement.

       106.    The Terracinos, as a result of the unfair bargaining and the unfair substantive

terms were left without a real, meaningful choice regarding both the existence of and the terms

of the License Agreement.

       107.    As a result, the License Agreement is unconscionable and should be found to be

invalid and unenforceable.

                                    COUNT VIII
                          CORRECTION OF INVENTORSHIP OF
                         UNITED STATES PATENT NO. 10,683,607

       108.    Plaintiffs hereby reallege and incorporate by reference the allegations of the

preceding paragraphs as if fully set forth herein.

       109.    This claim arises out of the failure of Trimaco to identify the proper inventors of

the invention embodied in U.S. Patent No. 10,683,607.

       110.    The ‘607 Patent identifies May, Yichen Wang, and Akashdeep Khera as

inventors. However, the invention claimed in the ‘607 Patent includes and claims elements

derived by one or more Defendants from trade secret information conceived of and developed by

the Terracinos.



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          111.   The Terracinos were intentionally omitted by Trimaco as named inventors from

the ‘607 Patent.

          112.   Trimaco intentionally misidentified the inventors listed on the ‘607 Patent

knowing that the Terracinos actually conceived of and contributed to the claims of the ‘607

Patent.

          113.   Pursuant to the provisions of 35 U.S.C. § 256, an order directing that the ‘607

Patent be corrected to reflect the Terracinos as inventors should issue. The Court should further

direct Trimaco and/or the U.S. Patent and Trademark Office to correct inventorship accordingly.

                                             COUNT IX

                      PATENT INFRINGEMENT UNDER 35 U.S.C. § 271

          114.   Plaintiffs hereby reallege and incorporate by reference the allegations of the

preceding paragraphs as if fully set forth herein.

          115.   The Terracinos own all right, title, and interest in U.S. Patent No. 9,044,917.

          116.   The ‘917 Patent is valid and enforceable.

          117.   By and through their actions above, Trimaco has been and continues to infringe

the ‘917 Patent by making, using, and selling its drop cloths, including but not limited to

Trimaco’s Stay Put drop cloth product, that meet each and every element of at least one claim of

the ‘917 Patent, including at least each and every element of claim 1.

          118.   Trimaco has at all relevant times had actual knowledge of the ‘917 Patent.

          119.   Trimaco’s infringement has at all relevant times been and continues to be willful,

and done with the intention to illegally profit from its infringement of the Terracinos patent.

          120.   The Terracinos have sustained injury and damage caused by Defendants’ conduct.




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       121.      The Terracinos have suffered, and will continue to suffer, irreparable harm from

Defendants’ acts and conduct complained of herein, unless restrained by law.

       122.      The Terracinos have been damaged in an amount to be proven at trial.

       123.      By virtue of Defendants’ actual knowledge of the 917 Patent at all relevant times,

the Terracinos are entitled to pre-suit damages.

                             COUNT X
  CIVIL CONSPIRACY AGAINST ALL DEFENDANTS UNDER NORTH CAROLINA
                           COMMON LAW

       124.      Plaintiffs hereby reallege and incorporate by reference the allegations of the

preceding paragraphs as if fully set forth herein.

       125.      The Defendants colluded and agreed to commit the wrongful acts identified

herein, and in particular agreed, among other things, to fraudulently induce the Terracinos to

enter into the Agreement as well as inducing the Terracinos to provide confidential information

to Defendants.

       126.      The Defendants fraudulently convinced the Terracinos to enter into the

Agreement and provide the confidential information to the Defendants, thereby acting in

furtherance of the unlawful acts agreed to among the Defendants.

       127.      The Terracinos have sustained injury and damage caused by Defendants’ conduct.

       128.      The Terracinos have suffered, and will continue to suffer, irreparable harm from

Defendants’ acts and conduct complained of herein, unless restrained by law.

       129.      The Terracinos have been damaged in an amount to be proven at trial.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that this Court enter judgment in Plaintiffs’ favor against

the Defendants on all counts and as follows, that the Defendants be found liable for the claims

asserted and that Plaintiffs be awarded compensatory damages, enhanced and exemplary damages

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based on Defendants willful conduct and willful patent infringement, treble damages pursuant to

N.C. Gen. Stat. § 75-1.1 et seq.; reasonable attorneys’ fees; an order causing the Terracinos to be

named as inventors on the ‘607 Patent and such other and further relief as the Court deems just

and proper.

                                  JURY TRIAL DEMANDED

       Plaintiffs demand trial by jury.


                                             ROBERT TERRACINO AND
                                             BRADIE TERRACINO

Dated: January 7, 2022
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